Case 2:21-cv-09507-AB-MAA Document 1 Filed 12/08/21 Page 1 of 40 Page ID #:1


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12   Attorneys for Plaintiff Pharmavite LLC
13                        UNITED STATES DISTRICT COURT
14                      CENTRAL DISTRICT OF CALIFORNIA
15
     PHARMAVITE LLC, a California limited ) Case No. 2:21-CV-09507
16   liability company,                   )
                                          )
17                            Plaintiff,  ) PHARMAVITE LLC’S COMPLAINT
                                          ) FOR:
18                 v.                     )
                                          ) (1) MONOPOLIZATION
19   BAUSCH & LOMB INCORPORATED, )              (15 U.S.C. § 2);
     a New York corporation, and PF       )
20                                        ) (2) ATTEMPTED
     CONSUMER HEALTHCARE 1 LLC, a )             MONOPOLIZATION
21   Delaware corporation;                )     (15 U.S.C. § 2);
                                          ) (3) CONSPIRACY TO
22                      Defendants.       )     MONOPOLIZE (15 U.S.C. § 2);
                                          )     and
23
                                            (4) DECLARATORY
24                                              JUDGMENT—NON-
                                                INFRINGMENT, PATENT
25                                              INVALIDITY, AND PATENT
                                                MISUSE (28 U.S.C. § 2201 et seq.)
26
                                                JURY TRIAL DEMANDED
27

28



                                 PHARMAVITE LLC’S COMPLAINT
Case 2:21-cv-09507-AB-MAA Document 1 Filed 12/08/21 Page 2 of 40 Page ID #:2


1           Plaintiff Pharmavite LLC (“Pharmavite”) hereby alleges as follows against
2    defendants Bausch & Lomb Incorporated (“Bausch & Lomb”) and PF Consumer
3    Healthcare 1 LLC (“PF Consumer Healthcare 1”) (collectively, “Defendants”):
4                                 NATURE OF THE ACTION
5           1.     This case concerns Defendants’ attempts to monopolize the eye health
6    supplement market and to keep competing products, including Pharmavite’s Nature
7    Made® Vision supplement, off the market. Defendants have done so by filing a sham
8    patent infringement lawsuit against Pharmavite; making false and misleading claims
9    about Bausch & Lomb’s PreserVision® products, including making unlawful disease
10   claims; and/or misusing and misrepresenting the scope of Defendants’ United States
11   Patent No. 8,603,522 (“the ’522 Patent”).
12          2.     Pharmavite brings this action asserting claims for monopolization,
13   attempted monopolization, and conspiracy to monopolize in violation of 15 U.S.C. § 2.
14          3.     Pharmavite also brings this action for a declaratory judgment that (a) it
15   does not infringe, either directly or indirectly, any claim of the ’522 Patent; (b) the
16   claims of the ’522 Patent are invalid for failure to comply with the requirements for
17   patentability set forth in Title 35 of the United States Code and related judicial
18   doctrines, including without limitation, 35 U.S.C. §§ 101, 102, 103, and/or 112 and/or
19   obviousness-type double patenting; and (c) the claims of the ’522 Patent are
20   unenforceable due to at least patent misuse. This action is necessary to resolve an
21   actual, justiciable, and continuing controversy between Pharmavite and Defendants
22   regarding the non-infringement, invalidity, and unenforceability of the ’522 Patent.
23                                        THE PARTIES
24          4.     Plaintiff Pharmavite LLC is a California limited liability company with its
25   principal place of business in West Hills, California.
26          5.     On information and belief, defendant Bausch & Lomb is a corporation
27   organized and existing under the laws of New York, with a principal place of business at
28   1400 North Goodman Street, Rochester, NY 14609. On information and belief,

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                                    PHARMAVITE LLC’S COMPLAINT
Case 2:21-cv-09507-AB-MAA Document 1 Filed 12/08/21 Page 3 of 40 Page ID #:3


1    Bausch & Lomb conducts business within the State of California and has a registered
2    agent in California.
3           6.       On information and belief, defendant PF Consumer Healthcare 1 is a
4    limited liability company organized and existing under the laws of Delaware and having
5    a place of business at 1209 Orange Street, Corporation Trust Center, Wilmington, DE,
6    19801. On information and belief, PF Consumer Healthcare 1 conducts business
7    within the State of California and has a registered agent in California.
8                                 JURISDICTION AND VENUE
9           7.       This Court has subject matter jurisdiction over this action pursuant to 28
10   U.S.C. §§ 2201-2202, 1331-1332, 1338(a), and 1367(a), and the doctrine of pendent
11   jurisdiction.
12          8.       Pharmavite’s claims arose in this District, and Pharmavite or its agents may
13   be found or transact affairs in this District. In addition, on information and belief,
14   Bausch & Lomb has conducted business in this District by marketing, selling,
15   advertising, and promoting its product called PreserVision®, and Defendants have
16   conducted business in this District by misusing the ’522 Patent and expired United
17   States Patent No. 6,660,297 (“the ’297 Patent”), thereby causing, or likely to cause, harm
18   to Pharmavite in this District. Defendants have further filed a patent infringement
19   lawsuit lacking any good faith basis in an unquestionably improper venue (the U.S.
20   District Court for the District of Delaware) against Pharmavite, causing Pharmavite
21   harm in this District. On information and belief, Bausch & Lomb has attempted to and
22   has willfully and unlawfully maintained a monopoly in the eye health supplement market
23   throughout the United States, including in this District, and PF Consumer Healthcare 1
24   has conspired with Bausch & Lomb to do so, causing Pharmavite injury in this District
25   and attempting to exclude Pharmavite’ Nature Made® Vision supplement from the U.S.
26   market, including in this District. Accordingly, on information and belief, Defendants
27   are subject to personal jurisdiction in California.
28          9.       Venue in this District is appropriate under 28 U.S.C. § 1391.

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                                     PHARMAVITE LLC’S COMPLAINT
Case 2:21-cv-09507-AB-MAA Document 1 Filed 12/08/21 Page 4 of 40 Page ID #:4


1                                  FACTUAL BACKGROUND
2    A.      The Parties’ Dietary Supplements
3            10.     Pharmavite manufactures, largely in California, Nature Made® brand
4    vitamins and dietary supplements. Nature Made® vitamins and dietary supplements are
5    “The #1 Pharmacist Recommended Vitamin and Mineral Supplement Brand.” Among
6    Pharmavite’s dietary supplements is a product called Nature Made® Vision AREDS 2
7    (“Nature Made® Vision supplement”), which helps support an individual’s healthy
8    vision and eye function.
9            11.     Defendant Bausch & Lomb has a line of “eye vitamin and mineral
10   supplements” called PreserVision®. PreserVision® packaging states that the
11   supplements contain the AREDS 2 Formula, as shown in Figures 1, 2, and 3 below
12   (true and correct copies of the PreserVision® products taken from the
13   PreserVision.com website, https://www.preservision.com/eyecare-professionals/the-
14   areds-formula/, on December 8, 2021):
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25        Figure 1                      Figure 2                     Figure 3

26           12.     The AREDS 2 Formula is a combination of vitamins and minerals—i.e.,
27   vitamin C, vitamin E, copper, zinc, lutein, and zeaxanthin—in specific amounts that the
28   National Eye Institute (“NEI”) of the United States Department of Health and Human

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                                    PHARMAVITE LLC’S COMPLAINT
Case 2:21-cv-09507-AB-MAA Document 1 Filed 12/08/21 Page 5 of 40 Page ID #:5


1    Services’ National Institutes of Health (“NIH”) studied in a clinical trial known as
2    AREDS 2.
3          13.    Bausch & Lomb’s PreserVision® AREDS 2 products directly compete
4    with Pharmavite’s Nature Made® Vision supplement.
5    B.    Defendants’ Patents
6          14.    Defendants claim to be joint owners of the ’522 Patent, entitled
7    “Nutritional Supplement to Treat Macular Degeneration.” Attached as Exhibit A is the
8    form and content of the ’522 Patent. Pharmavite does not concede the truth or
9    admissibility of any statement made within the ’522 Patent.
10         15.    The ’522 Patent is a continuation of an abandoned patent application,
11   which in turn is a continuation of the now-expired ’297 Patent, which, on information
12   and belief, also had been owned jointly by Defendants. Attached as Exhibit B is the
13   form and content of the ’297 Patent. Pharmavite does not concede the truth or
14   admissibility of any statement made within the ’297 Patent.
15         16.    The enforceable term of a United States patent begins on the date the
16   patent issues and ends 20 years from the date on which the application for the patent
17   was filed, absent certain exceptions. The application for the ’297 Patent was filed on
18   March 23, 2001, and the patent issued on December 9, 2003. Thus, the enforceable
19   term of the ’297 Patent ended March 23, 2021.
20         17.    The expired ’297 Patent included “composition” claims, which Defendants
21   have previously alleged cover the AREDS 2 formulation itself. For patents claiming a
22   composition, anyone using or selling the claimed composition in the United States
23   during the patent’s enforceable term can be held liable as an infringer. The owner of a
24   valid composition patent is therefore able to prevent the sale of the claimed
25   composition in the United States, regardless of how the composition is to be used.
26         18.    Thus, during the enforceable term of the ’297 Patent, Bausch & Lomb
27   could assert the patent to exclude any competing AREDS 2 formulation from the
28   market, to the extent the ’297 Patent was valid and covered the AREDS 2 formula.

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                                   PHARMAVITE LLC’S COMPLAINT
Case 2:21-cv-09507-AB-MAA Document 1 Filed 12/08/21 Page 6 of 40 Page ID #:6


1    Defendant Bausch & Lomb did so via numerous lawsuits, which lawsuits, upon
2    information and belief, allowed Bausch & Lomb to increase and maintain its large
3    market share.
4           19.    But that enforceable term ended on March 23, 2021, when the ’297 Patent
5    expired. Thus, after March 23, 2021, Bausch & Lomb could no longer validly claim that
6    the AREDS 2 formula is still patented—but Bausch & Lomb nonetheless continued
7    (and continues) to make that claim. The post-March 23, 2021 PreserVision® claim of
8    “Patented Formula” on the front or other panels of its packaging and on its website
9    advertising is false.
10          20.    The patent application that issued as the ’522 Patent was filed by
11   Defendants over a year after the ’297 Patent had issued, and claims priority to the same
12   parent application as the ’297 Patent. The ’522 Patent, however, is not a composition
13   patent. It does not claim any formula, much less the AREDS 2 formulation. Rather,
14   the ’522 patent claims are narrow method claims reciting two key limitations relevant
15   here. First, all claims require administering the AREDS 2 composition to a specific
16   subset of the population, namely persons with the disease of early age-related macular
17   degeneration (the disease is referred to herein as “AMD” and the limitation is referred
18   to herein as the “early AMD limitation”). Second, all claims require that such
19   administration achieve a specific result, namely treating or stabilizing visual acuity loss in
20   persons with early AMD (the “stabilization limitation”). Claim 8 of the ’522 Patent is
21   illustrative, and reproduced below with the stabilization and early AMD limitations,
22   respectively, in bold underline:
23          8. A method of treating age-related macular degeneration consisting
24          essentially of administering a daily dosage of not less than approximately
            420 mg and not more than approximately 600 mg vitamin C, not less
25          than approximately 400 IU and not more than approximately 540 IU
26
            vitamin E, approximately 0.04 mg to 40 mg lutein-zeaxanthine
            combination, not less than approximately 60 mg and not more than
27          approximately 100 mg zinc and at least 1.6 mg and not more than
            approximately 2.4 mg copper, wherein the daily dosage stabilizes
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                                    PHARMAVITE LLC’S COMPLAINT
Case 2:21-cv-09507-AB-MAA Document 1 Filed 12/08/21 Page 7 of 40 Page ID #:7


1           visual acuity loss by reducing the risk of developing late stage or
            advanced age-related macular degeneration in persons with early age-
2
            related macular degeneration.
3
            21.     The ’522 Patent specification also makes numerous references to the
4
     method to treat the disease of early AMD. Pursuant to the ’522 Patent’s specification,
5
     the purported invention “relates to a ... nutritional or dietary supplement ... that decreases
6
     visual acuity loss … in persons with early age-related macular degeneration.” Exhibit A, ’522
7
     Patent at col. 1, lines 17-26 (emphasis added). See also id. at col. 2, lines 26-40 (“[t]he
8
     present invention ... strengthens and promotes retinal health ... in people with particular
9
     ocular diseases.... Visual acuity loss is decreased through the use of the present composition ...
10
     in persons with early age-related macular degeneration”) (emphasis added); id. at col. 9, lines 12-
11
     16 (invention is intended to provide a “safe and effective method of preventing, stabilizing,
12
     reversing and/or treating macular degeneration or visual acuity loss.... in persons with early age-
13
     related macular degeneration....”) (emphasis added).
14
            22.     The preambles of the ’522 Patent claims are limiting because they breathe
15
     life into the claims. Confirming this, the applicants stated to the USPTO Examiner
16
     during prosecution of the application that issued as the ’522 Patent that they “ma[d]e
17
     certain” that each preamble “breathes life into the claim.”
18
            23.     Accordingly, the ’522 Patent is limited to methods for administering the
19
     relevant composition to persons that already have the disease of early AMD, and for
20
     achieving the result of treating or stabilizing visual acuity loss. The claims of the ’522
21
     Patent do not cover administering the AREDS 2 formula to persons suffering from no
22
     eye conditions at all, such as persons with healthy vision and eye function who want to
23
     support the health and function of their eyes by taking dietary supplements. Nor do
24
     they cover administering the AREDS 2 formula to persons suffering from other ocular
25
     disorders or AMD that has advanced beyond the early stage. The applicants for the
26
     ’522 Patent expressly relied on the narrow nature of the pending claims as covering only
27
     a method of preventing or stabilizing visual acuity loss in the “very specific ocular
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                                        PHARMAVITE LLC’S COMPLAINT
Case 2:21-cv-09507-AB-MAA Document 1 Filed 12/08/21 Page 8 of 40 Page ID #:8


1    disease referred to in the art as early/intermediate stage age-related macular
2    degeneration” in obtaining the ’522 patent. See ’522 Patent prosecution history, January
3    14, 2010 Amendment and Response at 7 (“Applicants do not claim a method of
4    preventing or stabilizing visual acuity loss from a plurality of ocular disease states, but
5    rather, from a very specific ocular disease referred to in the art as early/intermediate-
6    stage age-related macular degeneration.”).
7    C.     Defendants’ Improper Attempts to Monopolize the Eye Health Dietary
8           Supplement Market
9           24.    Bausch & Lomb significantly dominates and maintains monopoly power in
10   the eye health dietary supplement market. For the past several years, on information
11   and belief, Bausch & Lomb’s share of the eye health dietary supplement market has
12   increased steadily, from 68% in 2016 to 79% to 2019. Currently, year-to-date in 2021,
13   on information and belief, Bausch & Lomb has an 80% share of the eye health dietary
14   supplement market.
15          25.    Bausch & Lomb has monopolized, attempted to monopolize, and/or
16   attempted to maintain a monopoly over the market using several unlawful, unfair, and
17   fraudulent methods, including but not limited to, the following—each of which is
18   described in more detail in the sections which follow below:
19                i.   Bausch & Lomb, together with co-defendant PF Consumer Healthcare
20                     1, has filed and is proceeding with a sham lawsuit against Pharmavite in
21                     which Defendants falsely claim that Pharmavite’s Nature Made®
22                     Vision supplement infringes Defendants’ ’522 Patent, which is limited
23                     to methods of treating or stabilizing visual acuity loss in a specific
24                     subset of the population, namely persons with early AMD. Pharmavite
25                     does not infringe the ’522 Patent because, among other reasons,
26                     Pharmavite does not advertise or sell its Nature Made® Vision
27                     supplement to treat any disease, much less early AMD. Nor have
28                     Defendants even alleged that Pharmavite directs persons with early

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                                     PHARMAVITE LLC’S COMPLAINT
Case 2:21-cv-09507-AB-MAA Document 1 Filed 12/08/21 Page 9 of 40 Page ID #:9


1                   AMD to take the Nature Made® Vision supplement, which would be
2                   necessary for any infringement claim. Defendants have filed similar
3                   sham lawsuits against other competitors also selling what they market
4                   as AREDS 2 supplements.
5             ii.   On information and belief, without approval of the U.S. Food and
6                   Drug Administration (“FDA”), Bausch & Lomb makes improper
7                   disease claims on its website and product packaging, misleading
8                   consumers into believing the PreserVision® product will treat a
9                   disease, including to the extent that Bausch & Lomb is referring to the
10                  ’522 method-of-use patent in labeling and advertising its PreserVision®
11                  dietary supplement as “patented.”
12           iii.   Even after the ’297 Patent expired on March 23, 2021, Bausch & Lomb
13                  falsely labeled the PreserVision® product and falsely represented to
14                  consumers, including on its website, that its PreserVision® products
15                  are patent protected and contain a “patented” formula.
16           iv.    To the extent Bausch & Lomb was referring to the ’522 patent with its
17                  post-March 23, 2021 patent claims, such claims are false because the
18                  ’522 patent cannot cover the AREDS 2 formula as a matter of law
19                  because it is a method-of-use patent, and Bausch & Lomb cannot
20                  lawfully practice or direct other persons to practice the claimed
21                  methods of use, all of which require the treatment of a disease, without
22                  the required approvals from the FDA (which on information and belief
23                  Bausch & Lomb does not have).
24            v.    On information and belief, with its false claim that its PreserVision®
25                  products contain a “patented formula,” Bausch & Lomb misleads
26                  consumers into believing the PreserVision® AREDS 2 formulation is
27                  unique and superior to competing products and that no other company
28


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                                 PHARMAVITE LLC’S COMPLAINT
Case 2:21-cv-09507-AB-MAA Document 1 Filed 12/08/21 Page 10 of 40 Page ID #:10


  1                    may properly sell an AREDS 2 formula, thereby willfully maintaining,
  2                    or attempting to establish monopoly power.
  3           i.   Defendants’ Sham Patent Infringement Lawsuit
  4         26.    On July 15, 2021, Defendants filed a lawsuit against Pharmavite and a
  5   related entity, Nature Made Nutritional Products (“Nature Made”), in the United States
  6   District Court for the District of Delaware, captioned Bausch and Lomb Incorporated and
  7   PF Consumer Healthcare 1 LLC v. Nature Made Nutritional Products and Pharmavite LLC,
  8   Case No. 21-cv-01030-LPS (the “Patent Infringement Lawsuit”), in which Defendants
  9   alleged that Pharmavite and Nature Made infringe the ’522 Patent by making and selling
 10   the Nature Made® Vision supplement. Venue for this lawsuit, however, was plainly
 11   improper in Delaware under 35 U.S.C. § 1400 because Pharmavite and Nature Made
 12   neither reside in nor have regular and established places of business in Delaware. They
 13   are instead both organized under the laws of the State of California, with their principal
 14   places of business in California, and with no place of business in Delaware.
 15         27.    Rather than re-filing in a proper forum, Defendants doubled down on
 16   their improper choice of venue by filing an amended complaint (“the Delaware
 17   Amended Complaint”), naming as additional defendants entities related to Pharmavite
 18   and alleging that they had Delaware connections. But the additional defendants named
 19   for their alleged Delaware connections are separate legal entities from Pharmavite and
 20   have no connection to the accused product—these entities do not make, use, sell, offer
 21   for sale, or import the accused product, i.e., the Nature Made® Vision supplement, in
 22   the United States. The Delaware Amended Complaint is a transparent and improper
 23   attempt to manufacture venue.
 24         28.    Even aside from the improper venue, the Patent Infringement Lawsuit is
 25   without merit and constitutes sham litigation. As discussed above, the ’522 Patent
 26   claims cover only specific uses of the recited formulations that must satisfy both the
 27   early AMD and the stabilization limitations. But Pharmavite, Nature Made, and the
 28   other named defendants in the Delaware Amended Complaint (collectively, the

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                                    PHARMAVITE LLC’S COMPLAINT
Case 2:21-cv-09507-AB-MAA Document 1 Filed 12/08/21 Page 11 of 40 Page ID #:11


  1   “Delaware Defendants”) have not engaged in any conduct that would satisfy either
  2   limitation—and no reasonable litigant could believe that they have.
  3          29.    First, with respect to the early AMD limitation, that limitation requires
  4   administering the recited composition to persons already suffering from the disease of
  5   early AMD. But, the Delaware Defendants do not administer the accused product to
  6   anyone, much less specifically to persons with early AMD. Confirming the lack of merit
  7   of the Patent Infringement Lawsuit, despite Defendants’ inability to even allege that any
  8   of the Delaware Defendants administer the accused product to anyone, Defendants
  9   nevertheless allege direct infringement by the Delaware Defendants. Actual
 10   administration of the accused product, however, is a prerequisite to direct infringement
 11   of the ’522 method claims. Accordingly, the Delaware Defendants do not and cannot
 12   directly infringe any claim of the ’522 patent.
 13          30.    Second, with respect to the stabilization limitation, that limitation requires
 14   that administration of the composition achieve a particular result—treating or stabilizing
 15   visual acuity loss. Again confirming the lack of merit of the Patent Infringement
 16   Lawsuit, Defendants do not allege that anyone ever had his or her visual acuity loss
 17   treated or stabilized by the Nature Made® Vision supplement, much less that the
 18   Delaware Defendants use the accused product to treat or stabilize visual acuity loss.
 19   The Delaware Amended Complaint thus does not plead any act of direct infringement
 20   for this additional reason.
 21          31.    Defendants’ indirect infringement claims are equally meritless. Because
 22   Defendants did not plead any act of direct infringement, the indirect infringement
 23   claims necessarily fail as a matter of law for want of an underlying act of direct
 24   infringement.
 25          32.    Moreover, the indirect infringement claims lack merit for the additional
 26   reason that none of the Delaware Defendants instruct persons with early AMD to take
 27   the accused product, nor do they instruct others to administer it to persons with early
 28   AMD. Instead, Pharmavite markets the accused product as “[a]n eye health supplement

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                                     PHARMAVITE LLC’S COMPLAINT
Case 2:21-cv-09507-AB-MAA Document 1 Filed 12/08/21 Page 12 of 40 Page ID #:12


  1   that helps support healthy vision and eye function,” as shown in Figure 4 below (a true
  2   and correct excerpt of the www.NatureMade.com website):
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 17         Figure 4

 18
            33.    Further, as shown in Figure 4 above, Pharmavite’s Nature Made® Vision
 19
      supplement states on its label that the supplement is to “help[] support health vision &
 20
      eye function.” Tellingly, the Delaware Amended Complaint does not even allege that
 21
      anyone with early AMD has ever even taken the Nature Made® Vision supplement.
 22
      The Delaware Defendants therefore do not indirectly infringe in connection with the
 23
      early AMD limitation.
 24
            34.    Nor do the Delaware Defendants indirectly infringe with respect to the
 25
      stabilization limitation. None of the Delaware Defendants instruct that persons should
 26
      take the accused product to treat or stabilize visual acuity loss. To the contrary,
 27
      Pharmavite’s Nature Made® Vision supplement unmistakably states on the front of its
 28


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                                     PHARMAVITE LLC’S COMPLAINT
Case 2:21-cv-09507-AB-MAA Document 1 Filed 12/08/21 Page 13 of 40 Page ID #:13


  1   label, in a vertical box on the right side, that “[t]his product is not intended to diagnose,
  2   treat, cure, or prevent any disease,” as shown below Figure 5, a true and correct picture
  3   of the front/right side of the Vision bottle. This statement is also made on the
  4   NatureMade.com website, as shown in Figure 4 above.
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 25                        Figure 5

 26          35.    Accordingly, at least for these reasons, Defendants’ Patent Infringement
 27   Lawsuit is objectively baseless, and no reasonable litigant could realistically expect
 28   success on the merits. Defendants’ meritless lawsuit is an improper attempt to continue

                                                   12
                                      PHARMAVITE LLC’S COMPLAINT
Case 2:21-cv-09507-AB-MAA Document 1 Filed 12/08/21 Page 14 of 40 Page ID #:14


  1   to exclude competing AREDS 2 formulations from the market, when Defendants know
  2   they have no lawful basis to do so given their ’297 Patent is now expired.
  3         36.     Defendants’ Patent Infringement Lawsuit is, on information and belief,
  4   brought with the intent to interfere directly with Pharmavite’s business relationships
  5   with its customers and exclude Pharmavite’s Nature Made® Vision supplement from
  6   the market. This is demonstrated not only by the fact that Defendants cannot
  7   realistically expect success on the merits, but also by the fact that Defendants’ Patent
  8   Infringement Lawsuit is one of at least a dozen lawsuits that Defendants have filed as
  9   part of their ongoing monopolization, and efforts to monopolize the eye health dietary
 10   supplement market and harm competitors’ business relationships with customers. That
 11   is, Defendants—which are large, multi-national entities with substantial resources—
 12   previously filed at least 11 other patent infringement actions against other, smaller
 13   competitors selling similar eye supplements.
 14         37.     Defendants’ improper intent is further demonstrated by its intentionally
 15   filing the Patent Infringement Lawsuit in an improper venue (Delaware), three
 16   thousand miles from where Pharmavite and Nature Made (the only Delaware
 17   Defendants with any connection to the Nature Made® Vision supplement) reside and
 18   have their principal places of business—a venue where Pharmavite and Nature Made
 19   do not have any physical presence or employees who reside there. Rather than re-file in
 20   a proper venue or otherwise correct the venue issue, as discussed above, Defendants
 21   filed an amended complaint naming as defendants entities unconnected with the
 22   accused product in an improper attempt to manufacture venue.
 23           ii.   Bausch & Lomb’s Improper Disease Claims
 24         38.     Drugs and dietary supplements are subject to the federal Food, Drug, and
 25   Cosmetic Act (“FDCA”) and the FDA’s governing regulations. The FDA regulates
 26   several categories of statements that can be made on dietary supplement labels,
 27   including “disease claims” and “structure/function claims.”
 28


                                                  13
                                    PHARMAVITE LLC’S COMPLAINT
Case 2:21-cv-09507-AB-MAA Document 1 Filed 12/08/21 Page 15 of 40 Page ID #:15


  1          39.      A disease claim is a statement that either “explicitly or implicitly” claims
  2   “to diagnose, mitigate, treat, cure, or prevent a specific disease or class of diseases.” 21
  3   U.S.C. § 343(r)(6); 21 C.F.R. § 101.93(g)(2). “Disease” means “damage to an organ,
  4   part, structure, or system of the body such that it does not function properly (e.g.,
  5   cardiovascular disease), or a state of health leading to such dysfunction (e.g.,
  6   hypertension)….” 21 C.F.R. § 101.93(g)(1). Supplement manufacturers may not
  7   include disease claims on product labels without FDA approval. 21 U.S.C. §
  8   343(r)(6)(C). On information and belief, Bausch & Lomb does not have FDA approval
  9   to make disease claims in connection with its PreserVision® products.
 10          40.     The FDA has set out multiple criteria for determining if a statement
 11   qualifies as a disease claim. See, e.g., https://www.fda.gov/regulatory-
 12   information/search-fda-guidance-documents/small-entity-compliance-guide-
 13   structurefunction-claims. For example, “[a] statement is a disease claim if it mentions a
 14   specific disease or class of diseases.” Moreover, citation of a publication or study on a product
 15   label may qualify as a disease claim if the context of the labeling, as a whole, suggests as
 16   much. Specifically, “[i]f the citation implies treatment or prevention of a disease, it is a disease
 17   claim. Thus, if in the context of the labeling as a whole its presence implies treatment or
 18   prevention of disease (for example, by placement on the immediate product label or
 19   packaging, inappropriate prominence, or lack of relationship to the product’s express
 20   claims), the citation is a disease claim.”
 21          41.     In contrast, a structure/function claim is a statement that, among other
 22   things, “describes the role of a nutrient or dietary ingredient intended to affect the
 23   structure or function in humans.” 21 U.S.C. § 343(r)(6)(A); 21 C.F.R. § 101.93(f). A
 24   manufacturer may include a structure/function statement on a supplement label without
 25   prior FDA approval if and only if: (1) the statement does not qualify as a disease claim,
 26   (2) the manufacturer “has substantiation that such statement is truthful and not
 27   misleading,” and (3) the manufacturer includes a disclaimer that “[t]his statement has
 28   not been evaluated by the Food and Drug Administration. This product is not intended

                                                         14
                                         PHARMAVITE LLC’S COMPLAINT
Case 2:21-cv-09507-AB-MAA Document 1 Filed 12/08/21 Page 16 of 40 Page ID #:16


  1   to diagnose, treat, cure, or prevent any disease.” 21 U.S.C. § 343(r)(6)(C). Merely
  2   including such a disclaimer on the label does not itself render the statement a
  3   structure/function claim rather than a disease claim. If the statement qualifies as disease
  4   claim then “the product will be subject to regulation as a drug,” notwithstanding
  5   inclusion of the disclaimer.
  6         42.    On information and belief, the FDA has not approved PreserVision® as a
  7   drug or approved any disease claims in connection with the PreserVision® products.
  8   Bausch & Lomb nonetheless is making unlawful disease claims in violation of the
  9   FDCA and its governing regulations. Bausch & Lomb makes explicit reference to the
 10   disease of age-related macular degeneration on its website, asserting as follows: “Only
 11   the patented PreserVision® formula contains the exact level of nutrients recommended
 12   by the NEI to help reduce the risk of moderate to advanced AMD progression,” (emphasis
 13   added), as shown in Figure 6 below (a true and correct image taken from Bausch &
 14   Lomb’s PreserVision® website at https://www.preservision.com/eyecare-
 15   professionals/the-areds-formula/ on or about December 8, 2021).
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 28                       Figure 6


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                                     PHARMAVITE LLC’S COMPLAINT
Case 2:21-cv-09507-AB-MAA Document 1 Filed 12/08/21 Page 17 of 40 Page ID #:17


  1          43.    Similarly, as shown in Figures 7 and 8 below (true and correct images
  2   taken from Bausch & Lomb’s PreserVision® website at
  3   https://www.preservision.com/Why-PreserVision/Ingredients-Matter/ on or about
  4   December 8, 2021), Bausch & Lomb informs consumers, under the “Ingredients
  5   Matter” section of the “Why PreserVision” tab on its website, that “PreserVision
  6   AREDS 2 contains high levels of a specific combination of vitamins and minerals
  7   recommended by the NEI to help reduce the risk of progression of moderate-to-advanced AMD”
  8   (emphasis added), and that “National Eye Institute researchers tested and refined the
  9   AREDS formula over a period of 20 years. The NEI recommends formula based on
 10   the AREDS2 study to help reduce the risk of progression in people with moderate-to-advanced
 11   macular degeneration.” (Emphasis added).
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 21   Figure 7                                                   Figure 8

 22          44.     Also, as shown in Figure 9 below (a true and correct image taken from
 23   Bausch & Lomb’s PreserVision® website at https://www.preservision.com/Why-
 24   PreserVision/The-AREDS-Story/ on or about December 8, 2021), Bausch & Lomb
 25   informs consumers, under the “AREDS Story” section of the “Why PreserVision” tab
 26   on its website, that “[t]he NEI recommends the AREDS 2 formula for helping to reduce
 27   the risk of progression in moderate to advanced AMD.” (Emphasis added). See also Figure 10,
 28   below (“Contains the exact levels of six key nutrients recommended by the National

                                                     16
                                       PHARMAVITE LLC’S COMPLAINT
Case 2:21-cv-09507-AB-MAA Document 1 Filed 12/08/21 Page 18 of 40 Page ID #:18


  1   Eye Institute to help reduce the risk of progression in patients with moderate to advanced AMD.”)
  2   (Emphasis added).
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 11                           Figure 9

 12          45.     Bausch & Lomb further includes and/or included disease claims on its
 13   PreserVision® labels. For example, Bausch & Lomb prominently cites and/or cited the
 14   AREDS 2 “clinical study” on its label with the claim that its formulation is “clinically
 15   proven”—which references are to disease studies of AMD. (See, e.g., Figure 1, above).
 16   The citation in this context is thus a disease claim.
 17          46.     Bausch & Lomb’s disease claims intentionally mislead consumers into
 18   believing the PreserVision® product will treat a disease. Upon information and belief,
 19   the FDA has not determined that the PreserVision® products are safe and effective for
 20   treating any disease.
 21          47.     Moreover, to the extent Bausch & Lomb is referring to the ’522 Patent in
 22   claiming that the AREDS 2 formula used in its PreserVision® products is patent-
 23   protected and that its products contain a “patented” formula (as discussed in the
 24   following Section, below), Bausch & Lomb is thereby also making unlawful disease
 25   claims. As explained above, the ’522 method-of-use patent is limited to methods for
 26   treating AMD and/or treating or stabilizing visual acuity loss in persons with early
 27   AMD.
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                                         PHARMAVITE LLC’S COMPLAINT
Case 2:21-cv-09507-AB-MAA Document 1 Filed 12/08/21 Page 19 of 40 Page ID #:19


  1         48.     To the extent Bausch & Lomb’s references to “patented” on its label refer
  2   to the ’522 Patent, such claims constitute unlawful competition in furtherance of
  3   Bausch & Lomb’s monopolization, attempted monopolization, and maintenance and
  4   attempted maintenance of its monopoly, in that Bausch & Lomb is using the patent to
  5   make “disease” claims without the required approval of the FDA.
  6          iii.   Bausch & Lomb’s False Claims of Patent Protection
  7         49.     Bausch & Lomb further seeks to illegally continue to monopolize,
  8   maintain its monopoly in, or attempt to monopolize the eye health supplement market
  9   by falsely claiming that the AREDS 2 formula used in its PreserVision® products is
 10   patent-protected and that its products contain a “patented” formula, when its
 11   composition patent expired in March 2021. As shown in Figure 10, below (a true and
 12   correct image taken from Bausch & Lomb’s PreserVision® website at
 13   https://www.preservision.com/eyecare-professionals/the-areds-formula/ on or about
 14   December 8, 2021), Bausch & Lomb falsely states that its PreserVision® AREDS 2
 15   Formula MiniGels have a “Patented formula.”
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 28                 Figure 10


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                                    PHARMAVITE LLC’S COMPLAINT
Case 2:21-cv-09507-AB-MAA Document 1 Filed 12/08/21 Page 20 of 40 Page ID #:20


  1         50.    In addition, Bausch & Lomb claims on its website that “This
  2   patented formula is not available as a store brand,” see Figure 11, below, true and
  3   correct image taken from Bausch & Lomb’s PreserVision® website,
  4   https://www.preservision.com/Products/Choose-Your-PreserVision/areds-2-formula-
  5   miniGels/, on or about December 8, 2021 (emphasis added), and also refers on its
  6   website to “the patented PreserVision® formula….” (See Figure 6, above).
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 14           Figure 11

 15         51.    As depicted in the figures above, well after the ’297 Patent expired, Bausch
 16   & Lomb included on the front of its PreserVision® AREDS 2 supplements the claim
 17   that they contain the “AREDS 2 Patented Formula” (emphasis added). Similarly, at least
 18   the PreserVision® AREDS 2 minigels also included a claim that the product is “[b]ased
 19   on the ONLY Patented Clinically Proven Formula” (emphasis added). (See Figure 1,
 20   above). Well after the ’297 Patent expired, Bausch & Lomb also continued to make the
 21   false claim on another side of the box of its PreserVision® AREDS 2 supplements, in
 22   yellow capital letters, as follows: “PATENTED. NOT AVAILABLE AS A STORE
 23   BRAND.” See Figure 12 below (a true and correct image of the side of the
 24   PreserVision® AREDS 2 supplement box which was taken from the PreserVision.com
 25   website, https://www.preservision.com/Products/Choose-Your-PreserVision/areds-2-
 26   formula-miniGels/, on or about December 8, 2021):
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                                    PHARMAVITE LLC’S COMPLAINT
Case 2:21-cv-09507-AB-MAA Document 1 Filed 12/08/21 Page 21 of 40 Page ID #:21


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 13                Figure 12

 14         52.    As explained above, Defendants’ ’297 composition patent, which
 15   Defendants purport to cover the AREDS 2 formulation itself, expired on March 23,
 16   2021. Even if the ’297 Patent were valid during its enforceable term, after March 23,
 17   2021, any direct or indirect claim by Bausch & Lomb that the AREDS 2 formula
 18   remains patented is literally false. Nor, after March 23, 2021, could Bausch & Lomb
 19   properly seek to prevent competing sales of the AREDS 2 formula in the United States
 20   for any use. Accordingly, Bausch & Lomb’s post-March 23, 2021 label claim that its
 21   product is “patented” is incorrect and falsely conveyed to consumers, in furtherance of
 22   Bausch & Lomb’s monopolization, attempted monopolization, and maintenance and
 23   attempted maintenance of its monopoly of the eye health dietary supplement market,
 24   that the AREDS 2 Formula used in PreserVision® is unique to that product, is different
 25   from competing AREDS 2 Formula supplements, is superior to competing AREDS 2
 26   Formula supplements, including Pharmavite’s Nature Made® Vision supplement, and
 27   that, because of the ’297 Patent, no other dietary supplement can use the AREDS 2
 28   Formula.

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                                   PHARMAVITE LLC’S COMPLAINT
Case 2:21-cv-09507-AB-MAA Document 1 Filed 12/08/21 Page 22 of 40 Page ID #:22


  1          53.   To the extent Bausch & Lomb’s claims of patent coverage on its label or
  2   in its advertising refer to the ’522 Patent, such claims would also be false at least because
  3   the ’522 Patent cannot cover the AREDS 2 formula as a matter of law because it is a
  4   method-of-use patent. Moreover, Bausch & Lomb cannot lawfully practice or direct
  5   other persons to practice the claimed methods of use, all of which require the treatment
  6   of a disease, without the required approvals from the FDA (which on information and
  7   belief, Bausch & Lomb does not have). Bausch & Lomb’s conduct (i.e., its claims of
  8   patent coverage on its label or in its advertising) are in furtherance of Bausch & Lomb’s
  9   monopolization, attempted monopolization, and maintenance and attempted
 10   maintenance of its monopoly of the eye health dietary supplement market.
 11   D.     Defendants’ Conduct Injures, and is Likely to Injure, Pharmavite as Well
 12          as the Competition
 13          54.   On information and belief, since Bausch & Lomb’s composition patent
 14   (the ’297 patent) expired on March 23, 2021, Bausch & Lomb has sold more than five
 15   million bottles of PreserVision®, many bearing the statement, “patented
 16   formula.” Based on marketplace observations, these sales total approximately $140
 17   million.
 18          55.   Even after the ’297 Patent expired, and with knowledge that it had
 19   expired, Bausch & Lomb persisted in making reference to PreserVision®’s “patented
 20   formula” through ubiquitous statements not only on bottles of the product sold but
 21   also on Bausch & Lomb’s websites and websites for e-tailers such as Amazon, creating,
 22   on information and belief, consumer misperception and illegally anticompetitive
 23   barriers to entry for Pharmavite’s Nature Made® Vision supplement, resulting in
 24   competitive injury to Pharmavite—all of which Bausch & Lomb did and continues to
 25   do in its monopolization and attempted monopolization of the relevant market.
 26          56.   Consumer survey data confirms that Nature Made is “The #1 Pharmacist
 27   Recommended Brand of Vitamins and Supplements.” Pharmavite is experienced in
 28   bringing new products to markets where other established competitors already had a

                                                   21
                                     PHARMAVITE LLC’S COMPLAINT
Case 2:21-cv-09507-AB-MAA Document 1 Filed 12/08/21 Page 23 of 40 Page ID #:23


  1   presence (but were not creating artificial and illegal anticompetitive barriers to entry to
  2   either establish or perpetuate a monopoly).
  3            57.   Pharmavite’s brand reputation and record of successful product entries
  4   notwithstanding, on information and belief, the market performance of Pharmavite’s
  5   Nature Made® Vision supplement is unfairly disadvantaged by Bausch & Lomb’s
  6   efforts to create consumer misimpressions through its false statements regarding the
  7   patented status of the PreserVision® formula; i.e., given a choice between eye health
  8   supplements from two name brands such as Nature Made® and Bausch & Lomb, a
  9   significant percentage of reasonable consumers could and would be expected to choose
 10   the one prominently stating on its label or in its advertising that it is a “patented
 11   formula,” even if (unbeknownst to the consumer) that is false. On information and
 12   belief, Bausch & Lomb intended to illegally maintain its monopoly (or attempt to
 13   enhance it) even after expiration of the patent via this tactic, because if it did not
 14   provide both a perceived and actual advantage, a rational marketer such as Bausch &
 15   Lomb would have dropped the claim when its patent expired.
 16            58.    On information and belief, a claim—even if false—that a supplement
 17   product is made with a “patented” formula can be a barrier to entry (and is here a
 18   barrier to entry), either establishing or perpetuating a monopoly, insofar as it influences
 19   consumer buying decisions, resulting in lost sales by competitors who are not engaged
 20   in such improper conduct. For example, consumer reviews of PreserVision® on e-
 21   tailer websites mention the “patent” or “patented formula” as a positive attribute of
 22   PreserVision®, often as compared to competitive products which do not make such a
 23   claim.
 24                                    FIRST CLAIM FOR RELIEF
 25                         (Monopolization in violation of 15 U.S.C. § 2)
 26                                     Against Bausch & Lomb
 27            59.   Pharmavite incorporates paragraphs 1 through 58, above, as though fully
 28   set forth herein.

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                                     PHARMAVITE LLC’S COMPLAINT
Case 2:21-cv-09507-AB-MAA Document 1 Filed 12/08/21 Page 24 of 40 Page ID #:24


  1         60.      Bausch & Lomb significantly dominates and monopolizes the eye health
  2   supplement market. Currently, year-to-date in 2021, on information and belief, Bausch
  3   & Lomb has an 80% share of the eye health dietary supplement market. For the past
  4   several years, Bausch & Lomb’s share of the eye health dietary supplement market has
  5   increased steadily, from 68% in 2016 to 79% to 2019.
  6         61.      Bausch & Lomb has monopolized and maintained a monopoly in the
  7   market using several inappropriate methods, by, among other things:
  8               a. Bausch & Lomb, together with co-defendant PF Consumer Healthcare 1,
  9                  has filed and is proceeding with a sham lawsuit (i.e., the Patent
 10                  Infringement Lawsuit) against Pharmavite in which Defendants falsely
 11                  claim that Pharmavite is infringing Defendants’ ’522 Patent. Pharmavite,
 12                  however, cannot directly infringe because it does not administer the
 13                  accused product to any person, much less to persons with early AMD as
 14                  required by the early AMD limitation, nor does it treat or stabilize visual
 15                  acuity loss with the accused product, as required by the stabilization
 16                  limitation. Pharmavite further does not indirectly infringe at least because
 17                  it does not direct persons with early AMD to take the accused product, or
 18                  direct others to treat or stabilize visual acuity loss with the accused
 19                  product. At the time Defendants filed the Patent Infringement Lawsuit
 20                  against Pharmavite, Defendants knew or objectively should have known
 21                  that Pharmavite’s Nature Made® Vision supplement does not infringe the
 22                  ’522 Patent at least because Nature Made® Vision is not sold or marketed
 23                  as a product intended to treat any disease—and in fact disclaims any such
 24                  use. As such, Defendants’ Patent Infringement Lawsuit is objectively
 25                  baseless, and Defendants filed their lawsuit against Pharmavite without a
 26                  reasonable basis. On information and belief, Defendants filed the Patent
 27                  Infringement Lawsuit in bad faith and with the specific intent to chill
 28                  competition and increase revenues for Bausch & Lomb, and to divert sales

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                                      PHARMAVITE LLC’S COMPLAINT
Case 2:21-cv-09507-AB-MAA Document 1 Filed 12/08/21 Page 25 of 40 Page ID #:25


  1              from Pharmavite’s Nature Made® Vision supplement to Bausch &
  2              Lomb’s PreserVision® products. Defendants have filed similar sham
  3              lawsuits against other competitors also selling what they market as AREDS
  4              2 supplements;
  5           b. To disadvantage the Nature Made® Vision supplement and products that
  6              compete with PreserVision®, Bausch & Lomb has made improper and
  7              unlawful “disease claims” regarding PreserVision® without FDA approval,
  8              in violation of FDCA, 21 U.S.C. § 343(r)(6)(C) and the implementing
  9              regulations, as well as California Sherman Food, Drug & Cosmetic Law,
 10              Cal. Health & Safety Code § 110670, including the following claims:
 11                 i. “Only the patented PreserVision® formula contains the exact level
 12                    of nutrients recommended by the NEI to help reduce the risk of
 13                    moderate to advanced AMD progression.” (emphasis added);
 14                 ii. “PreserVision AREDS 2 contains high levels of a specific
 15                    combination of vitamins and minerals recommended by the NEI to
 16                    help reduce the risk of progression of moderate-to-advanced AMD.” (emphasis
 17                    added);
 18                iii. “National Eye Institute researchers tested and refined the AREDS
 19                    formula over a period of 20 years. The NEI recommends formula
 20                    based on the AREDS2 study to help reduce the risk of progression in people
 21                    with moderate-to-advanced macular degeneration.” (emphasis added);
 22                iv. “The NEI recommends the AREDS 2 formula for helping to reduce
 23                    the risk of progression in moderate to advanced AMD.” (emphasis added);
 24                    and
 25                 v. “Contains the exact levels of six key nutrients recommended by the
 26                    National Eye Institute to help reduce the risk of progression in patients with
 27                    moderate-to-advanced AMD.” (emphasis added);
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                                  PHARMAVITE LLC’S COMPLAINT
Case 2:21-cv-09507-AB-MAA Document 1 Filed 12/08/21 Page 26 of 40 Page ID #:26


  1               c. Even after the ’297 Patent expired on March 23, 2021, Bausch & Lomb
  2                  falsely labeled the PreserVision® product and falsely represented to
  3                  consumers, including on its website, that its PreserVision® products are
  4                  patent-protected and contain a “patented” formula;
  5               d. To the extent Bausch & Lomb was referring to the ’522 patent with its
  6                  post-March 23, 2021 patent claims, such claims are false because the ’522
  7                  Patent cannot cover the AREDS 2 formula as a matter of law because it is
  8                  a method-of-use patent, and Bausch & Lomb cannot lawfully practice or
  9                  direct other persons to practice the claimed methods of use, all of which
 10                  require the treatment of a disease, without the required approvals from the
 11                  FDA (which on information and belief, Bausch & Lomb does not have);
 12                  and
 13               e. With its false claim that its PreserVision® products contain a “patented
 14                  formula,” Bausch & Lomb deceives consumers into believing the
 15                  PreserVision® AREDS 2 formulation is unique and superior to competing
 16                  products.
 17         62.      At all relevant times, Bausch & Lomb possessed and currently exercises
 18   monopoly power in the eye health supplement market, as demonstrated by Bausch &
 19   Lomb’s high market share, barriers to entry, Bausch & Lomb’s actual exclusion of
 20   competition, and its ability to charge supracompetitive prices in the relevant markets.
 21         63.      On information and belief, through the conduct described above, and
 22   other conduct likely to be revealed in discovery, Bausch & Lomb has willfully and
 23   unlawfully maintained and enhanced its monopoly power. Bausch & Lomb’s conduct
 24   as described herein constitutes exclusionary conduct within the meaning of Section 2 of
 25   the Sherman Act.
 26         64.      On information and belief, Bausch & Lomb’s conduct as described herein
 27   has suppressed, and will suppress, competition and produced anticompetitive effects in
 28   the relevant markets, including causing Pharmavite antitrust injury and damages in the

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                                     PHARMAVITE LLC’S COMPLAINT
Case 2:21-cv-09507-AB-MAA Document 1 Filed 12/08/21 Page 27 of 40 Page ID #:27


  1   form of lost sales and lost market share proximately caused by Bausch & Lomb’s
  2   unlawful and anticompetitive practices.
  3          65.    Bausch & Lomb’s conduct has no procompetitive benefit or justification.
  4   The anticompetitive effects of Bausch & Lomb’s behavior outweigh any purported
  5   procompetitive justifications.
  6          66.    As a result of Bausch & Lomb’s conduct, and the harm to competition
  7   caused by that conduct, Pharmavite has suffered continuing injuries to its business in an
  8   amount to be proven at trial and automatically trebled, as provided by 15 U.S.C. § 15.
  9          67.    Pharmavite is also entitled to recover from Bausch & Lomb the costs of
 10   suit, including reasonable attorneys’ fees, as provided by 15 U.S.C. § 15.
 11                             SECOND CLAIM FOR RELIEF
 12                   (Attempted Monopolization in violation of 15 U.S.C. § 2)
 13                                     Against Bausch & Lomb
 14          68.    Pharmavite incorporates paragraphs 1 through 67, above, as though fully
 15   set forth herein.
 16          69.    Bausch & Lomb significantly dominates, and is attempting improperly to
 17   monopolize, and/or is attempting improperly to maintain a monopoly in, the eye health
 18   supplement market. Currently, year-to-date in 2021, Bausch & Lomb has an 80% share
 19   of the eye health dietary supplement market. For the past several years, Bausch &
 20   Lomb’s share of the eye health dietary supplement market has increased steadily, from
 21   68% in 2016 to 79% to 2019. Bausch & Lomb’s market share and market power,
 22   tactics, and wrongful conduct make its attempt to monopolize a genuine threat to
 23   competition and to Pharmavite, in light of Bausch & Lomb’s likely success in leveraging
 24   these acts into a monopoly. Put otherwise, using its illegal and improper conduct,
 25   Bausch & Lomb has positioned itself to bring its attempted monopolization to fruition
 26   through illegal means. It will take intervention from the courts to prevent that
 27   outcome, which would be damaging to competition, to consumers, and to Pharmavite.
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                                       PHARMAVITE LLC’S COMPLAINT
Case 2:21-cv-09507-AB-MAA Document 1 Filed 12/08/21 Page 28 of 40 Page ID #:28


  1         70.       Bausch & Lomb has attempted to monopolize, and/or attempted to
  2   maintain a monopoly of, the market using several inappropriate methods, by, among
  3   other things:
  4               a. Bausch & Lomb, together with co-defendant PF Consumer Healthcare 1,
  5                   has filed and is proceeding with a sham lawsuit (i.e., the Patent
  6                   Infringement Lawsuit) against Pharmavite in which Defendants falsely
  7                   claim that Pharmavite is infringing Defendants’ ’522 Patent. Pharmavite,
  8                   however, cannot directly infringe because it does not administer the
  9                   accused product to any person, much less to persons with early AMD as
 10                   required by the early AMD limitation, nor does it treat or stabilize visual
 11                   acuity loss with the accused product, as required by the stabilization
 12                   limitation. Pharmavite further does not indirectly infringe at least because
 13                   it does not direct persons with early AMD to take the accused product, or
 14                   direct others to treat or stabilize visual acuity loss with the accused
 15                   product. At the time Defendants filed the Patent Infringement Lawsuit
 16                   against Pharmavite, Defendants knew or objectively should have known
 17                   that Pharmavite’s Nature Made® Vision supplement does not infringe the
 18                   ’522 Patent at least because the Nature Made® Vision supplement is not
 19                   sold or marketed as a product intended to treat any disease—and in fact
 20                   disclaims any such use. As such, Defendants’ Patent Infringement Lawsuit
 21                   is objectively baseless, and Defendants filed their lawsuit without a
 22                   reasonable basis. On information and belief, Defendants filed the Patent
 23                   Infringement Lawsuit in bad faith and with the specific intent to chill
 24                   competition and increase revenues for Bausch & Lomb, and to divert sales
 25                   from Pharmavite’s Nature Made® Vision supplement to Bausch &
 26                   Lomb’s PreserVision® products. Defendants have filed similar sham
 27                   lawsuits against other competitors also selling what they market as AREDS
 28                   2 supplements;

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                                       PHARMAVITE LLC’S COMPLAINT
Case 2:21-cv-09507-AB-MAA Document 1 Filed 12/08/21 Page 29 of 40 Page ID #:29


  1           b. To disadvantage the Nature Made® Vision supplement and products that
  2              compete with PreserVision®, Bausch & Lomb has made improper,
  3              unlawful, false and/or misleading “disease claims” regarding
  4              PreserVision® without FDA approval, in violation of FDCA, 21 U.S.C. §
  5              343(r)(6)(C) and the implementing regulations, as well as California
  6              Sherman Food, Drug & Cosmetic Law, Cal. Health & Safety Code §
  7              110670, including:
  8                 i. “Only the patented PreserVision® formula contains the exact level
  9                    of nutrients recommended by the NEI to help reduce the risk of
 10                    moderate to advanced AMD progression.” (emphasis added);
 11                 ii. “PreserVision AREDS 2 contains high levels of a specific
 12                    combination of vitamins and minerals recommended by the NEI to
 13                    help reduce the risk of progression of moderate-to-advanced AMD.” (emphasis
 14                    added);
 15                iii. “National Eye Institute researchers tested and refined the AREDS
 16                    formula over a period of 20 years. The NEI recommends formula
 17                    based on the AREDS2 study to help reduce the risk of progression in people
 18                    with moderate-to-advanced macular degeneration.” (emphasis added);
 19                iv. “The NEI recommends the AREDS 2 formula for helping to reduce
 20                    the risk of progression in moderate to advanced AMD.” (emphasis added);
 21                    and
 22                 v. “Contains the exact levels of six key nutrients recommended by the
 23                    National Eye Institute to help reduce the risk of progression in patients with
 24                    moderate-to-advanced AMD.” (emphasis added); and
 25           c. Even after the ’297 Patent expired on March 23, 2021, Bausch & Lomb
 26              falsely labeled the PreserVision® product and falsely represented to
 27              consumers, including on its website, that its PreserVision® products are
 28              patent-protected and contain a “patented” formula;

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                                  PHARMAVITE LLC’S COMPLAINT
Case 2:21-cv-09507-AB-MAA Document 1 Filed 12/08/21 Page 30 of 40 Page ID #:30


  1                d. To the extent Bausch & Lomb was referring to the ’522 patent with its
  2                   post-March 23, 2021 patent claims, such claims are false because the ’522
  3                   Patent cannot cover the AREDS 2 formula as a matter of law because it is
  4                   a method-of-use patent, and Bausch & Lomb cannot lawfully practice or
  5                   direct other persons to practice the claimed methods of use, all of which
  6                   require the treatment of a disease, without the required approvals from the
  7                   FDA (which on information and belief, Bausch & Lomb does not have);
  8                e. With its false claim that its PreserVision® products contain a “patented
  9                   formula,” Bausch & Lomb deceives consumers into believing the
 10                   PreserVision® AREDS 2 formulation is unique and superior to competing
 11                   products.
 12          71.      Bausch & Lomb’s attempted monopolization through illegal means is a
 13   real and imminent threat to competition, and causes injury to Pharmavite specifically.
 14   Further, if Bausch & Lomb’s attempted monopolization through illegal means is not
 15   stopped through judicial intervention, it has a dangerous probability of success as a
 16   result of Bausch & Lomb’s existing high market share coupled with its aggressive use of
 17   illegal tactics designed to create barriers to entry (e.g., falsely advertising PreserVision®
 18   as alleged herein and filing seriatim sham lawsuits against competitors, on information
 19   and belief, to compel competitors to leave the market, or force them to compete on an
 20   uneven playing field).
 21          72.      On information and belief, Bausch &Lomb has been implementing the
 22   anticompetitive conduct set forth above, and other conduct likely to be revealed in
 23   discovery, with the specific intent to monopolize the relevant market. Bausch &
 24   Lomb’s conduct as described herein constitutes illegal exclusionary conduct, within the
 25   meaning of Section 2 of the Sherman Act.
 26          73.      On information and belief, there is a dangerous probability that Bausch &
 27   Lomb will succeed in unlawfully extending its monopoly in the relevant markets
 28   through its anticompetitive conduct as described herein.

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                                      PHARMAVITE LLC’S COMPLAINT
Case 2:21-cv-09507-AB-MAA Document 1 Filed 12/08/21 Page 31 of 40 Page ID #:31


  1          74.    On information and belief, Bausch & Lomb’s conduct as described herein
  2   is intended to suppress, has suppressed, and will suppress, competition and has
  3   produced, and will produce, anticompetitive effects in the relevant markets, including
  4   Pharmavite’s antitrust injury and damages.
  5          75.    Bausch & Lomb’s conduct has no procompetitive benefit or justification.
  6   The anticompetitive effects of Bausch & Lomb’s behavior outweigh any purported
  7   procompetitive justifications.
  8          76.    As a result of Bausch & Lomb’s conduct, and the harm to competition
  9   caused by that conduct, Pharmavite has suffered substantial and continuing injuries to
 10   its business in an amount to be proven at trial and automatically trebled, as provided by
 11   15 U.S.C. § 15.
 12          77.    Pharmavite is also entitled to recover from Bausch & Lomb the costs of
 13   suit, including reasonable attorneys’ fees, as provided by 15 U.S.C. § 15.
 14                              THIRD CLAIM FOR RELIEF
 15      (Conspiracy to Monopolize/Attempt to Monopolize in violation of 15 U.S.C. § 2)
 16                                      Against All Defendants
 17          78.    Pharmavite incorporates paragraphs 1 through 77, above, as though fully
 18   set forth herein.
 19          79.    Bausch & Lomb significantly dominates and monopolizes the eye health
 20   dietary supplement market. Currently, year-to-date in 2021, on information and belief,
 21   Bausch & Lomb has an 80% share of the eye health dietary supplement market. For
 22   the past several years, Bausch & Lomb’s share of the eye health dietary supplement
 23   market has increased steadily, from 68% in 2016 to 79% to 2019.
 24          80.    On information and belief, an agreement and/or mutual understanding
 25   was formed and exists between Defendants Bausch & Lomb and PF Consumer
 26   Healthcare 1 by which PF Consumer Healthcare 1 assists Bausch & Lomb to obtain
 27   and maintain monopoly power in the eye health supplement market. Defendants
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                                       PHARMAVITE LLC’S COMPLAINT
Case 2:21-cv-09507-AB-MAA Document 1 Filed 12/08/21 Page 32 of 40 Page ID #:32


  1   knowingly, voluntarily, and intentionally, became parties to that agreement or mutual
  2   understanding.
  3          81.    Defendants committed overt acts in furtherance of the conspiracy to
  4   monopolize and with the specific intent to monopolize or maintain a monopoly in the
  5   eye health supplement market, including but not limited to jointly filing and proceeding
  6   with a sham lawsuit (i.e., the Patent Infringement Lawsuit) against Pharmavite in which
  7   Defendants falsely claim that Pharmavite is infringing Defendants’ patent. Pharmavite,
  8   however, cannot infringe for the reasons stated herein and in the declaratory judgment
  9   claims presented herein.
 10          82.    At the time Defendants filed the complaint and Delaware Amended
 11   Complaint against Pharmavite, Defendants knew or objectively should have known that
 12   Pharmavite’s Nature Made® Vision supplement does not infringe the ’522 Patent at
 13   least for these reasons.
 14          83.    As such, Defendants’ Patent Infringement Lawsuit is objectively baseless,
 15   and Defendants filed their lawsuit against Pharmavite without a reasonable basis. On
 16   information and belief, PF Consumer Healthcare 1 joined in the filing of the sham
 17   Patent Infringement Lawsuit in conspiracy in order to, among other things, assist
 18   Bausch & Lomb in its monopolization or attempt to monopolize the market.
 19          84.    On information and belief, Defendants filed the Patent Infringement
 20   Lawsuit in bad faith and with the specific intent to monopolize, attempt to monopolize,
 21   or maintain a monopoly in the eye heath supplement market, to chill competition in
 22   that market and increase revenues for Bausch & Lomb, and to divert sales from
 23   Pharmavite’s Nature Made® Vision supplement to Bausch & Lomb’s PreserVision®
 24   products. Defendants have filed similar sham lawsuits against other competitors also
 25   selling what they market as AREDS 2 supplements.
 26          85.    On information and belief, through Defendants’ conduct described herein
 27   and other conduct likely to be revealed in discovery, Bausch & Lomb has willfully and
 28   unlawfully maintained and enhanced its monopoly power. At all relevant times, Bausch

                                                 31
                                    PHARMAVITE LLC’S COMPLAINT
Case 2:21-cv-09507-AB-MAA Document 1 Filed 12/08/21 Page 33 of 40 Page ID #:33


  1   & Lomb possessed and currently exercises monopoly power in the eye health
  2   supplement market, as demonstrated by Bausch & Lomb’s high market share, barriers
  3   to entry, Bausch & Lomb’s actual exclusion of competition, and its ability to charge
  4   supracompetitive prices in the relevant markets.
  5         86.    Defendants’ conduct as described herein constitutes exclusionary conduct
  6   within the meaning of Section 2 of the Sherman Act.
  7         87.    On information and belief, Defendants’ conduct as described herein has
  8   suppressed, and will suppress, competition and produced anticompetitive effects in the
  9   relevant markets, including causing Pharmavite antitrust injury and damages in the form
 10   of lost sales and lost market share proximately caused by Defendants’ unlawful and
 11   anticompetitive practices.
 12         88.    On information and belief, there is a dangerous probability that
 13   Defendants will succeed in unlawfully extending Bausch & Lomb’s monopoly in the
 14   relevant markets through its anticompetitive conduct as described herein
 15         89.     Defendants’ conduct has no procompetitive benefit or justification. The
 16   anticompetitive effects of Bausch & Lomb’s behavior outweigh any purported
 17   procompetitive justifications.
 18         90.    As a result of Defendants’ conduct, and the harm to competition caused
 19   by that conduct, Pharmavite has suffered continuing injuries to its business in an
 20   amount to be proven at trial and automatically trebled, as provided by 15 U.S.C. § 15.
 21         91.    Pharmavite is also entitled to recover from Defendants the costs of suit,
 22   including reasonable attorneys’ fees, as provided by 15 U.S.C. § 15.
 23                                FOURTH CLAIM FOR RELIEF
 24   (Declaratory Judgment of Non-Infringement of the ’522 Patent, 28 U.S.C. § 2201 et seq.)
 25                                      Against All Defendants
 26         92.    Pharmavite incorporates paragraphs 1 through 91 as though fully set forth
 27   herein.
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                                       PHARMAVITE LLC’S COMPLAINT
Case 2:21-cv-09507-AB-MAA Document 1 Filed 12/08/21 Page 34 of 40 Page ID #:34


  1          93.    A real, immediate, and justiciable controversy exists between Pharmavite
  2   and Defendants regarding the non-infringement of the ’522 Patent, as evidenced, for
  3   example, by the Patent Infringement Lawsuit improperly filed by Defendants in the
  4   United States District Court of the District of Delaware, in which Defendants claim,
  5   inter alia, that Pharmavite is infringing one or more claims of the ’522 Patent by selling
  6   the Nature Made® Vision supplement.
  7          94.    Any manufacture, use, sale, offer for sale, and/or importation of the
  8   Nature Made® Vision supplement by Pharmavite, however, has not infringed and will
  9   not infringe, either directly or indirectly, any valid and enforceable claim of the ’522
 10   Patent, either literally or under the doctrine of equivalents.
 11          95.    For example, and as detailed in paragraphs 28 to 35 above, the claims of
 12   the ’522 Patent all require the administration of certain recited formulations to a
 13   particular subset of the population (persons with early AMD) and the achievement of a
 14   particular result (treating or stabilizing visual acuity loss). But, Pharmavite does not
 15   administer the Nature Made® Vision supplement to any person, much less persons
 16   with early AMD. And Pharmavite does not instruct persons with early AMD to take
 17   the product, or to treat or stabilize visual acuity loss with administration of the Nature
 18   Made® Vision supplement. Nor does it market its Nature Made® Vision supplement
 19   as treating any disease, much less early AMD or any associated visual acuity loss. To
 20   the contrary, the label of Pharmavite’s Nature Made® Vision supplement states that the
 21   product “[h]elps support healthy vision and eye function” and contains the express
 22   disclaimer that “[t]his product is not intended to diagnose, treat, cure, or prevent any
 23   disease.” For at least these reasons, Pharmavite does not infringe any claim of the ’522
 24   patent, the use of Pharmavite’s Nature Made® Vision supplement in accordance with
 25   its label does not infringe any claim of the ’522 Patent, and manufacture, use, sale, offer
 26   for sale, and/or importation of this product for use in accordance with its label does
 27   directly or indirectly infringe any claim of the ’522 Patent.
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                                     PHARMAVITE LLC’S COMPLAINT
Case 2:21-cv-09507-AB-MAA Document 1 Filed 12/08/21 Page 35 of 40 Page ID #:35


  1          96.    Pharmavite thus is entitled to a judicial declaration that it does not
  2   infringe, directly or indirectly, literally or under the doctrine of equivalents, any claim of
  3   the ’522 Patent.
  4                                FIFTH CLAIM FOR RELIEF
  5        (Declaratory Judgment of Invalidity of the ’522 Patent, 28 U.S.C. § 2201 et seq.)
  6                                     Against All Defendants
  7          97.    Pharmavite incorporates paragraphs 1 through 96 as though fully set forth
  8   herein.
  9          98.    A real, immediate, and justiciable controversy exists between Pharmavite
 10   and Defendants regarding the invalidity of the ’522 Patent, as evidenced, for example,
 11   by the Patent Infringement Lawsuit improperly filed by Defendants in the United States
 12   District Court of the District of Delaware, in which Defendants claim that Pharmavite
 13   is infringing the ’522 Patent by selling the Nature Made® Vision supplement.
 14          99.    The claims of the ’522 Patent are invalid for failure to comply with one or
 15   more of the conditions of patentability under Title 35 of the United States Code and
 16   related judicial doctrines, including but not limited to 35 U.S.C. §§ 101, 102, 103,
 17   and/or 112, and/or obviousness-type double patenting.
 18          100. For example, all claims of the ’522 Patent are invalid under 35 U.S.C.
 19   § 112 at least because the patent specification fails to provide a written description that
 20   conveys with reasonable clarity to a person of ordinary skill in the art that, as of its
 21   effective filing date, the purported inventors of the ’522 Patent were in possession of
 22   the subject matter claimed therein. For example, the specification would not provide a
 23   person of ordinary skill in the art with a reasonable expectation that the recited
 24   compositions would achieve the claimed results. Moreover, Defendants have asserted
 25   that the claims of the ’522 Patent cover the use of the AREDS 2 formula; however,
 26   there is no disclosure of that formula in the ’522 Patent or sufficient blazemarks that
 27   would lead the persons of ordinary skill to that formula. In fact, the AREDS 2 study
 28   did not even commence until well over a year after the application leading to the ’522

                                                    34
                                     PHARMAVITE LLC’S COMPLAINT
Case 2:21-cv-09507-AB-MAA Document 1 Filed 12/08/21 Page 36 of 40 Page ID #:36


  1   Patent was filed and several years after the applications to which the ’522 Patent claims
  2   priority. A mere wish or plan for obtaining a claimed invention, as here, is not adequate
  3   to meet the written description or enablement requirements.
  4          101. The claims of the ’522 Patent are also invalid under 35 U.S.C. § 112 at
  5   least because the specification fails to provide an enabling disclosure that teaches a
  6   person of ordinary skill in the art how to make and use the full scope of the claimed
  7   subject matter without undue experimentation.
  8          102. To the extent that Defendants assert that the claims of the ’522 Patent are
  9   supported by the specification, the claims would have been anticipated under 35 U.S.C.
 10   § 102 and/or obvious under 35 U.S.C. § 103 because any purported invention was
 11   known and/or obvious in view of the prior art including at least the prior art cited on
 12   the face of the patent, including but not limited to the AREDS clinical trials and
 13   AREDS Research Group, “The Age-Related Eye Disease Study (AREDS),” AREDS
 14   Report No. 1, Control Clin. Trials, 1999 December, Vol. 20(6), 573-600.
 15          103. Further, the ’522 Patent is or should be expired in view of the expiration
 16   of the ’297 Patent, or alternatively, the claims of the ’522 Patent are invalid under the
 17   doctrine of obviousness-type double patenting.
 18          104. Pharmavite thus is entitled to a judicial declaration that the claims of the
 19   ’522 Patent are invalid.
 20                               SIXTH CLAIM FOR RELIEF
 21               (Declaratory Judgment of Patent Misuse, 28 U.S.C. § 2201 et seq.)
 22                                     Against All Defendants
 23          105. Pharmavite incorporates paragraphs 1 through 104 as though fully set
 24   forth herein.
 25          106. A real, immediate, and justiciable controversy exists between Pharmavite
 26   and Defendants regarding Defendants’ misuse of the ’522 Patent, as evidenced, for
 27   example, by the Patent Infringement Lawsuit improperly filed by Defendants in the
 28   United States District Court of the District of Delaware, in which Defendants claim

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                                     PHARMAVITE LLC’S COMPLAINT
Case 2:21-cv-09507-AB-MAA Document 1 Filed 12/08/21 Page 37 of 40 Page ID #:37


  1   that Pharmavite is infringing the ’522 Patent by selling the Nature Made® Vision
  2   supplement.
  3         107. The Patent Infringement Lawsuit brought by Defendants in Delaware is
  4   an improper effort to broaden impermissibly the scope of the claims of the ’522 Patent
  5   to cover compositions, with anti-competitive effect against Pharmavite and the
  6   industry.
  7         108. Defendants knew or should have known at the time of filing the Patent
  8   Infringement Lawsuit and the Delaware Amended Complaint that none of the claims of
  9   the ’522 Patent cover a composition, but rather all are directed to methods-of-use that
 10   require administration to a particular subset of the population (persons with early
 11   AMD) for a particular purpose (treating or stabilizing visual acuity loss). Defendants
 12   knew or should have known at the time of filing the complaint and the Delaware
 13   Amended Complaint that Pharmavite does not practice the methods-of-use claimed in
 14   the ’522 Patent, nor does it induce anyone to infringe that patent or contribute to any
 15   such infringement.
 16         109. In particular, Defendants knew or should have known at the time of filing
 17   the Patent Infringement Lawsuit and the Delaware Amended Complaint that
 18   Pharmavite does not market the Nature Made® Vision supplement as treating any
 19   disease, much less AMD or any associated visual acuity loss. To the contrary,
 20   Defendants knew or should have known at the time of filing that the label of
 21   Pharmavite’s Nature Made® Vision supplement states that the product “[h]elps support
 22   healthy vision & eye function” and contains the express disclaimer that “[t]his product
 23   is not intended to diagnose, treat, cure, or prevent any disease.”
 24         110. In asserting the ’522 Patent against Pharmavite, Defendants are seeking to
 25   improperly extend the patent monopoly of their now-expired ’297 Patent, which
 26   includes composition claims that, during the patent’s enforceable term and if valid,
 27   could be asserted, and were asserted by Defendants, to prevent the sale of the claimed
 28   composition in the United States, regardless of how the composition is to be used.

                                                  36
                                    PHARMAVITE LLC’S COMPLAINT
Case 2:21-cv-09507-AB-MAA Document 1 Filed 12/08/21 Page 38 of 40 Page ID #:38


  1   Defendants have not asserted the ’297 Patent against Pharmavite, nor could they, given
  2   the patent’s expiration as of March 23, 2021.
  3          111. On information and belief, Defendants purposefully and intentionally
  4   brought the Patent Infringement Lawsuit against Pharmavite in bad faith and with the
  5   specific intent to chill competition and increase revenues for Bausch & Lomb, and to
  6   divert sales from Pharmavite’s Nature Made® Vision supplement to Bausch & Lomb’s
  7   PreserVision® products. The Patent Infringement Lawsuit is a sham litigation filed for
  8   an improper and anti-competitive purpose, and constitutes patent misuse.
  9          112. Defendants’ acts in asserting the ’522 Patent against Pharmavite’s Nature
 10   Made® Vision supplement are not reasonably within the scope of the patent grant and
 11   do not relate to subject matter within the scope of the patent claims. Such subject
 12   matter is limited to narrow methods-of-use, not the AREDS 2 composition itself.
 13   Defendants’ attempt to enforce the ’522 Patent method-of-use claims as if they covered
 14   the composition that was the subject of the expired ’297 Patent claims imposes an
 15   unreasonable restraint on competition as Defendants no longer have any valid grounds
 16   to exclude AREDS 2 formulations from the market.
 17          113. Because Defendants have misused the ’522 Patent, that patent has been
 18   rendered unenforceable.
 19                                    PRAYER FOR RELIEF
 20          WHEREFORE, Pharmavite prays for judgment and relief against Defendants,
 21   jointly and severally, as follows:
 22          1.     For temporary, preliminary, and permanent injunctive relief enjoining
 23   Bausch & Lomb and its officers, agents, heirs, servants, employees, successors, and
 24   assigns, and those persons in active concert, participation or privity with them, or any of
 25   them, from using any false description or false representation with respect to the
 26   labeling, advertising, marketing, and/or promoting of Bausch & Lomb’s PreserVision®
 27   products, including but not limited to:
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                                      PHARMAVITE LLC’S COMPLAINT
Case 2:21-cv-09507-AB-MAA Document 1 Filed 12/08/21 Page 39 of 40 Page ID #:39


  1               a. Stating that its PreserVision® dietary supplements contain a “patented”
  2                  formula;
  3               b. Making improper, unlawful, false, and/or misleading “disease claims”
  4                  regarding PreserVision® without FDA approval, in violation of FDCA, 21
  5                  U.S.C. § 343(r)(6)(C) and the implementing regulations, as well as
  6                  California Sherman Food, Drug & Cosmetic Law, Cal. Health & Safety
  7                  Code § 110670; and
  8               c. Making any allegation that Pharmavite is infringing the ’522 Patent in
  9                  connection with the Pharmavite Nature Made® Vision supplement;
 10          2.      That judgment be entered against Defendants for all damages sustained by
 11   Pharmavite on account of, inter alia, Defendants’ violations of 15 U.S.C. § 2, as well as
 12   treble damages as available under 15 U.S.C. § 2;
 13          3.      For restitution of the amounts Bausch & Lomb acquired through the
 14   unfair, unlawful, and fraudulent business practices and false advertising described
 15   herein;
 16          4.      For declaratory judgment that the making, using, selling, offering for sale,
 17   or importation of the Nature Made® Vision supplement by Pharmavite has not
 18   infringed and will not infringe, either directly or indirectly, any claim of the ’522 Patent,
 19   either literally or under the doctrine of equivalents;
 20          5.      For declaratory judgment that all claims of the ’522 Patent are invalid for
 21   failure to satisfy one or more of the conditions for patentability specified in Title 35 of
 22   the United States Code and related judicial doctrines, including but not limited to 35
 23   U.S.C. §§ 101, 102, 103, and/or 112 and/or obviousness-type double patenting;
 24          6.      For declaratory judgment that all claims of the ’522 Patent are
 25   unenforceable due to Defendants’ misuse of that patent;
 26          7.      For a determination that this is an exceptional case and that attorneys’ fees
 27   be awarded in favor of Pharmavite;
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                                                   38
                                      PHARMAVITE LLC’S COMPLAINT
Case 2:21-cv-09507-AB-MAA Document 1 Filed 12/08/21 Page 40 of 40 Page ID #:40


  1         8.      That Pharmavite be awarded costs, attorneys’ fees, and pre-judgment and
  2   post-judgment interest; and
  3         9.      That Pharmavite be awarded other and further relief, both general and
  4   special, at law and equity, as the Court may deem just and proper.
  5                                       JURY DEMAND
  6         Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Pharmavite
  7   hereby demands a jury of any and all issues so triable of right.
  8

  9 Dated: December 8, 2021             TATRO TEKOSKY SADWICK LLP
 10
                                        By:___/s/ René P. Tatro____________
 11                                           René P. Tatro, Esq.
                                              Attorneys for Plaintiff Pharmavite LLC
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                                    PHARMAVITE LLC’S COMPLAINT
